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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

 MARTIN J. WALSH, Secretary of Labor,           )
 United States Department of Labor,             )
                                                )
 Plaintiff,                                     )
                                                )
 v.                                             )        Civil Action No. 1:22-cv-00050
                                                )
 VRP Group, Inc., d/b/a Regius                  )
 Investigations and Protective Services,        )
                                                )
 Defendant.                                     )

                                           COMPLAINT

         Plaintiff, Martin J, Walsh, Secretary of Labor, United States Department of Labor, brings

this action to enjoin VRP Group, Inc., d/b/a Regius Investigations and Protective Services

(“Regius”), from violating the provisions of Section 11(c) of the Occupational Safety and Health

Act of 1970 (the “Act”), 29 U.S.C. §§ 651-678, and for all other appropriate relief, including the

payment of back wages and other benefits found due to an employee of Defendant by reason of

Defendant’s actions in violation of the Act.

                                                    I.

          Jurisdiction of this action is conferred upon the Court by Section 11(c) of the Act, 29

 U.S.C. § 660(c)(2), and by 28 U.S.C. §§ 1331 and 1345.

                                                II.

          Defendant Regius is, and at all times hereinafter mentioned was, a corporation formed

 under the laws of the State of Florida and operating and doing business at 105 NW 75th Street,

 Unit 3, Gainesville, Florida 32607, in Alachua County. Regius’s registered agent for service of

 process is Dawn M. Falisi, 105 NW 75th Street, Unit 3, Gainesville, Florida 32607.



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        Venue is proper in this district as a substantial part of the events or omissions giving rise

 to the claim occurred in Port Arthur, Texas in Jefferson County, which is within the jurisdiction

 of the Court.

                                                III.

       At all relevant times mentioned hereafter, Craig Guydan was employed by Defendant,

and was employed by an employer as defined by Sections 3(5) and 3(6) of the Act, 29 U.S.C. §§

652(5) and (6).

                                                IV.

        On or about September 3, 2020, Guydan filed a retaliation complaint with the

 Occupational Safety and Health Administration (“OSHA”) alleging that Defendant

 discriminated against him in violation of Section 11(c)(1) of the Act, 29 U.S.C. § 660(c)(1).

        OSHA investigated this complaint in accordance with Section 11(c)(2) and determined

 that Defendant violated Section 11(c) of the Act.

                                                V.

       On or about August 30, 2020, Defendant discriminated against Guydan by terminating

 his employment because he exercised rights afforded to him by the Act by filing complaints

 about safety and health issues with Defendant when he texted his supervisors about the

 COVID-19 policies and protocols and the availability of secure firearm storage at temporary

 employee housing provided for Defendant’s employees.

       In August 2020 Defendant supplied security services to a third party, Entergy Texas, in

 and around Port Arthur, Texas in response to the Hurricanes Laura and Marco. Guydan was one

 of the employees assigned to the Port Arthur, Texas location. Based on information and belief,

 employees assigned to this worksite, including Guydan, carried firearms in the scope of their


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employment. Initially, employees assigned to the Port Arthur, Texas location were housed in a

hotel approximately 2 hours away from the worksite. On August 30, 2020, Defendant directed

the employees assigned to the Port Arthur, Texas location to relocate from the hotel to

temporary housing at the worksite through a group chat on a secure messaging app called

“Signal.”

      Shortly after receiving the message to relocate, Guydan responded on the Signal group

chat with several text messages to his supervisors raising legitimate safety and health concerns

about (1) the COVID-19 policies and protocols and (2) the availability of secure firearm storage

at the temporary employee housing site. Based on information and belief, the Signal group chat

included all of Defendant’s employees, including supervisors and managers, assigned to the

Port Arthur, Texas and surrounding locations for the Hurricanes Laura and Marco. Less than

ten minutes after his first text asking about the COVID-19 protocols, Defendant terminated

Guydan’s employment by text message in the Signal group chat.

                                              VI.

       As a result of Defendants’ discriminatory actions, Guydan incurred damages, which

include loss of salary, benefits and compensation, and other monetary and non-monetary losses.

                                              VII.

       By the actions described in Paragraph V above, Defendant discriminated, and is

discriminating against, Complainant Craig Guydan because he exercised rights under or related

to the Act, and thus, Defendant engaged in conduct in violation of Section 11(c)(1) of the Act,

29 U.S.C. § 660(c)(1).

       WHEREFORE, Plaintiff prays for judgment:

       A.      Permanently enjoining and restraining Defendant, its officers, agents, servants,


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employees and those persons in active concert or participation with them, from violating the

provisions of Section 11(c)(1) of the Act;

        B.      Ordering Defendant to make Guydan whole by 1) reimbursing him for lost

wages and other lost benefits that resulted from terminating Guydan’s employment, with

interest thereon from the date due until paid; 2) offering reinstatement to Guydan, or in lieu of

reinstatement, providing him with front pay in an amount to be determined at trial; and 3)

expunging from all personnel and company records references to the circumstances giving rise

to Guydan’s unlawful adverse action;

       C.       Ordering Defendant to make Guydan whole by providing compensation to

reimburse him for any costs, expenses and/or other pecuniary losses he incurred as a result of

Defendant’s discriminatory actions;

        D.      Ordering Defendant to make Guydan whole by providing compensation for

non-pecuniary losses he incurred, including emotional pain and suffering and damage to his

professional and personal reputation;

        E.      Ordering Defendant to pay additional compensation to Guydan as exemplary

or punitive damages in an amount to be determined at trial:

        F.      Ordering Defendant to post in a prominent place for a period of 60 consecutive

days a notice stating it will not in any manner discriminate against any employee for engaging

in activities protected by Section 11(c) of the Act; and

        G.      Ordering such other and further relief as may be necessary or appropriate, and

for the costs of this action.




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                                       Respectfully submitted,

                                       SEEMA NANDA
                                       Solicitor of Labor

                                       JOHN RAINWATER
                                       Regional Solicitor

                                       MARY KATHRYN COBB
                                       Counsel for Civil Rights

                                       _/s/ Allyson D. Gault_________
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